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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION


PARKERVISION, INC.,                              §
            Plaintiff                            §
                                                 §       W-20-CV-00108-ADA
-v-                                              §
                                                 §
INTEL CORPORATION,                               §
            Defendant                            §


                            CLAIM CONSTRUCTION ORDER

       The Court held a Markman hearing on January 26, 2021. During that hearing, the Court

provided its final constructions. The Court now enters those claim constructions.



SIGNED this 26th day of January, 2021.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE
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             Term                      Plaintiff’s Proposed           Defendants’ Proposed           Court’s Final Construction
                                           Construction                    Construction
“universal frequency down-        “circuitry that generates a    “A down-converter that down-       “circuitry that generates a
converter (UFD)”                  down converted output signal   converts a carrier signal at an    down converted output signal
(’518 patent, claim 50)           from an input signal”          aliasing rate (i.e., by sampling   from an input signal from a
                                                                 at less than or equal to twice     wide range of electromagnetic
                                                                 the frequency of the carrier       frequencies”
                                                                 signal)”

“energy transfer module”          Plain and ordinary meaning     “A module that down-converts       Plain-and-ordinary meaning
(’902 patent, claim 1)                                           an electromagnetic signal by
                                                                 transferring energy at an
                                                                 aliasing rate (i.e., by sampling
                                                                 at less than or equal to twice
                                                                 the frequency of the
                                                                 electromagnetic signal)”

“frequency down-conversion        Plain and ordinary meaning     “A module that down-converts       Plain-and-ordinary meaning
module”                                                          an input signal at an aliasing
(’444 patent, claims 2, 3; ’474                                  rate (i.e., by sampling at less
patent, claim 1)                                                 than or equal to twice the
                                                                 frequency of the input signal)”

“aliasing module”                 Plain and ordinary meaning     “A module that down-converts       Plain-and-ordinary meaning
(’725 patent, claim 1)                                           an RF information signal at an
                                                                 aliasing rate (i.e., by sampling
                                                                 at less than or equal to twice
                                                                 the frequency of the RF
                                                                 information signal)”
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             Term                     Plaintiff’s Proposed              Defendants’ Proposed         Court’s Final Construction
                                         Construction                        Construction
“system for frequency            Plain and ordinary meaning        “A system that down-converts Preamble is limiting. Plain-
down-converting”                                                   a modulated carrier signal at an and-ordinary meaning.
(’513 patent, claim 19; ’528                                       aliasing rate (i.e., by sampling
patent, claim 1; ’736 patent,                                      at less than or equal to twice
claim 1)                                                           the frequency of the modulated
                                                                   carrier signal)”

“frequency down-conversion       Plain and ordinary meaning        “A module that down-converts        Plain-and-ordinary meaning
module”                                                            an input modulated carrier
(’673 patent, claim 1)                                             signal at an aliasing rate (i.e.,
                                                                   by sampling at less than or
                                                                   equal to twice the frequency of
                                                                   the input modulated carrier
                                                                   signal)”

“apparatus for down-             Plain and ordinary meaning        “An apparatus that down-            Preamble is limiting. Plain-
converting”                                                        converts a modulated carrier        and-ordinary meaning.
(’673 patent, claim 13)                                            signal at an aliasing rate (i.e.,
                                                                   by sampling at less than or
                                                                   equal to twice the frequency of
                                                                   the modulated carrier signal)”

“under-samples”                  “sampling at an aliasing rate”    “samples at less than or equal      “sampling at less than or equal
(’444 patent, claim 2;           or “sampling at less than or      to twice the frequency of the       to twice the frequency of the
’474 patent, claim 6)            equal to twice the frequency of   input signal using negligible       input signal”
                                 the input signal”                 apertures (i.e., pulse widths)
                                                                   that tend towards zero time in
                                                                   duration”
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             Term                       Plaintiff’s Proposed              Defendants’ Proposed            Court’s Final Construction
                                           Construction                        Construction
“the [] switch is coupled to the   Plain and ordinary meaning         “the switch receives current       Plain-and-ordinary meaning
[] storage element at a [] node                                       from a storage element via a       wherein “coupled” is directly
and coupled to a [] reference                                         node, and shunts (i.e., diverts)   connected or connected
potential”                                                            current to a point held at a       through a conductor (or a
(’474 patent, claim 1)                                                constant reference voltage”        closed switch).

[wherein said storage elements     Plain and ordinary meaning         [wherein said storage elements     Plain-and-ordinary meaning
comprises] “a capacitor that                                          comprises] “a capacitor that       wherein the “a capacitor” in
reduces a DC offset voltage in                                        reduces a DC offset voltage in     each of the storage elements
said first-down converted                                             both said first down-converted     reduces a DC offset voltage in
signal and said second down-                                          signal and said second down-       the corresponding down-
converted signal”                                                     converted signal”                  converted signal
(’444 patent, claim 4)

“DC offset voltage”                “a deviation of DC voltage         “a DC voltage level that is        Plain-and-ordinary meaning
(’444 patent, claim 4)             from a reference voltage”          added to a signal of interest by   wherein the plain-and-ordinary
                                                                      related circuitry”                 meaning is “the difference
                                                                                                         between the DC voltage of a
                                                                                                         signal and a reference voltage,
                                                                                                         e.g., ground”

“energy storage element”           “an element of an energy           “an element that stores non-       “an element of an energy
(’513 patent, claim 19; ’528       transfer system that stores non-   negligible amounts of energy       transfer system that stores non-
patent, claim 1;’736 patent,       negligible amounts of energy       from an input electromagnetic      negligible amounts of energy
claims 1, 11, 21)                  from an input electromagnetic      (EM) signal”                       from an input electromagnetic
                                   signal for driving a low                                              signal”
                                   impedance load”
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            Term                        Plaintiff’s Proposed              Defendants’ Proposed         Court’s Final Construction
                                            Construction                       Construction
“energy storage device”            “a device of an energy transfer    “a device that stores a non-    “a device of an energy transfer
(’673 patent, claim 13)            system that stores non-            negligible amount of energy     system that stores non-
                                   negligible amounts of energy       from an input electromagnetic   negligible amounts of energy
                                   from an input electromagnetic      (EM) signal”                    from an input electromagnetic
                                   signal for driving a low                                           signal”
                                   impedance load”

“energy storage module”            “a module of an energy             “a module that stores a non-    “a module of an energy
(’902 patent, claim 1)             transfer system that stores non-   negligible amount of energy     transfer system that stores non-
                                   negligible amounts of energy       from an input electromagnetic   negligible amounts of energy
                                   from an input electromagnetic      (EM) signal”                    from an input electromagnetic
                                   signal for driving a low                                           signal”
                                   impedance load”

“storage element”                  “an element of an energy           “an element that stores a       “an element of an energy
(’444 patent, claim 3; ’474        transfer system that stores non-   nonnegligible amount of         transfer system that stores non-
patent, claim 1)                   negligible amounts of energy       energy from an input            negligible amounts of energy
                                   from an input electromagnetic      electromagnetic (EM) signal”    from an input electromagnetic
                                   signal for driving a low                                           signal”
                                   impedance load”

“storage module”                   “a module of an energy             “a module that stores a non-    “a module of an energy
(’725 patent, claim 1)             transfer system that stores non-   negligible amount of energy     transfer system that stores non-
                                   negligible amounts of energy       from an input electromagnetic   negligible amounts of energy
                                   from an input electromagnetic      (EM) signal”                    from an input electromagnetic
                                   signal for driving a low                                           signal”
                                   impedance load”
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             Term                         Plaintiff’s Proposed             Defendants’ Proposed              Court’s Final Construction
                                              Construction                      Construction
“modulated carrier signal”          “electromagnetic signal at         “a carrier signal that is            “an electromagnetic signal at a
(’513 patent, claim 19; ’528        transmission frequency having      modulated by a baseband              transmission frequency having
patent, claim 1; ’736 patent,       at least one characteristic that   signal”                              at least one characteristic that
claim 1; ’673 patent, claims 1,     has been modulated by a                                                 has been modulated by a
13)                                 baseband signal”                                                        baseband signal”

“sampling aperture”                 “a period of time during which     “a period of time during which       “a period of time during which
(’513 patent, claim 19; ’528        the switch is in its closed (on)   the switch is in its closed (i.e.,   the switch is in its closed (i.e.,
patent, claim 1; ’736 patent,       state, thereby reducing a          on) state as part of the process     on) state”
claims 1, 11;                       continuous-time signal to a        of reducing a continuous-time
’673 patent, claim 13)              discrete-time signal”              signal to a discrete-time
                                                                       signal”

“switch” / “switching device” /     “an electronic device for          “an electronic device for            Plain-and-ordinary meaning
“switching module”                  opening and closing a circuit      opening and closing a circuit”       wherein the plain-and-ordinary
(’528 patent, claims 1, 5, 8, 17;   as dictated by an independent                                           meaning is “an electronic
’444 patent, claim 3; ’474          control input”                                                          device for opening and closing
patent; claim 1; ’513 patent,                                                                               a circuit as dictated by an
claim 19; ’518 patent, claim                                                                                independent control input”
50; ’736 patent, claims 1, 11;
’673 patent, claims 1, 13; ’725
patent, claim 1; ’902 patent,
claim 1)
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            Term                       Plaintiff’s Proposed        Defendants’ Proposed       Court’s Final Construction
                                          Construction                  Construction
“a down-converted signal         “a lower frequency signal     “a down-converted signal      “a lower frequency signal
being generated from said        formed from sampled energy    being created from sampled    formed from sampled energy
sampled energy”                  transferred from the          energy stored in the energy   transferred from the
(’902 patent, claim 1)           electromagnetic signal when   storage module”               electromagnetic signal when
                                 the switch module is closed                                 the switch module is closed
                                 and from sampled energy                                     and from sampled energy
                                 discharged from the storage                                 discharged from the storage
                                 module when the switch                                      module when the switch
                                 module is open”                                             module is open”

“the energy discharged during    Plain and ordinary meaning    Indefinite                    Not indefinite.
any given discharge cycle is
not completely discharged”                                                                   Plain-and-ordinary meaning
(’736 patent, claims 1                                                                       wherein the plain-and-ordinary
and 11; ’528 patent, claim 9)                                                                meaning is “the energy that
                                                                                             could potentially be discharged
                                                                                             during any given discharge
                                                                                             cycle is not completely
                                                                                             discharged”

“between six and fifty percent   Plain and ordinary meaning    Indefinite                    Not indefinite. Plain-and-
of the energy transferred from                                                               ordinary meaning.
the RF information signal to
the storage module is
discharged from the storage
module”
(’725 patent, claim 17)
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            Term                      Plaintiff’s Proposed        Defendants’ Proposed    Court’s Final Construction
                                         Construction                  Construction
“between six and twenty-five     Plain and ordinary meaning   Indefinite                 Not indefinite. Plain-and-
percent of the energy                                                                    ordinary meaning.
transferred from the RF
information signal to the
storage module when is
discharged
(’725 patent, claim 18)

“between ten and twenty          Plain and ordinary meaning   Indefinite                 Not indefinite. Plain-and-
percent of the energy                                                                    ordinary meaning.
transferred from the RF
information signal to the
storage module discharged
from the storage module”
(’725 patent, claim 19)

“separate integration module”    Plain and ordinary meaning   Indefinite                 Not indefinite. Plain-and-
(’528 patent, claim 17)                                                                  ordinary meaning.

“substantially the same size”    Plain and ordinary meaning   Indefinite                 Not indefinite. Plain-and-
(’902 patent, claim 5)                                                                   ordinary meaning.
